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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF GEORGIA
                                 AUGUSTA DIVISION

UNITED STATES OF AMERICA                      *
                                              *
v.                                            *                NO. 1:17-CR-0034
                                              *
REALITY LEIGH WINNER                          *
                                              *
* * * * * * * * * * * * * * * * * *           *

                    DEFENDANT’S RESPONSE TO GOVERNMENT'S
                      MOTION FOR RECIPROCAL DISCOVERY

       NOW INTO COURT, through undersigned counsel, comes Defendant Reality Leigh

Winner (“Ms. Winner” or the “Defendant”), who respectfully files this Response to the

Government's Motion to Reciprocal Discovery [Doc. 175].          The Government's Motion for

Reciprocal Discovery requests particular information pursuant to Rule 16 of the Federal Rules of

Criminal Procedure [Id.]. Pursuant to the Court's order regarding upcoming deadlines in this

matter dated December 19, 2017 [Doc. 192], the Defendant advises that it will produce all

applicable discovery, if any, in accordance with the yet-to-be-set scheduling order governing this

case and/or federal law.




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Respectfully submitted,


/s/ Joe. D. Whitley

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on December 20, 2017, I electronically filed the foregoing with the
   Clerk of the Court using the ECF system, which sent notification of such filing to counsel of
   record for all parties.

                                                            /s/ Joe D. Whitley
                                                            JOE D. WHITLEY

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